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                               16                       UNITED STATES DISTRICT COURT
                               17                      SOUTHERN DISTRICT OF CALIFORNIA
                               18   ART COHEN, Individually and on         Case No.: 3:13-CV-02519-DMS(RBB)
                                    Behalf of All Others Similarly
                               19   Situated,                              CLASS ACTION
                               20         Plaintiff,                       NOTICE OF APPEARANCE OF
                                                                           AARON M. OLSEN, COUNSEL FOR
                               21                vs.                       PLAINTIFF ART COHEN
                               22   DONALD J. TRUMP,
                               23         Defendant.
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                                1         TO THE CLERK OF THE COURT AND TO ALL PARTIES AND
                                2   THEIR COUNSEL OF RECORD:
                                3         PLEASE TAKE NOTICE of the appearance of Aaron M. Olsen
                                4   (California Bar No. 259923) of Zeldes Haeggquist & Eck, LLP, counsel for
                                5   plaintiff Art Cohen in this action. The Court and counsel are requested to update
                                6   their service list with the undersigned’s information as follows:
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                               11   DATED: October 22, 2013              ZELDES HAEGGQUIST & ECK, LLP
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                                                                         ALREEN HAEGGQUIST
                               13                                        AARON M. OLSEN
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                               Case 3:13-cv-02519-GPC-WVG Document 6 Filed 10/22/13 PageID.49 Page 3 of 3



                                1                               CERTIFICATE OF SERVICE
                                2         I hereby certify that on October 22, 2013, I electronically filed the
                                3   foregoing with the Clerk of the Court using the CM/ECF system which will send
                                4   notification of such filing to the e-mail addresses denoted on the Notice of
                                5   Electronic Filing.
                                6         I certify under penalty of perjury under the laws of the United States of
                                7   America that the foregoing is true and correct. Executed on October 22, 2013.
                                8                                                      s/Aaron M. Olsen
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